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 4

 5 Attorney for:
   Xavier Valle
 6
                                    IN THE UNITED STATES DISTRICT COURT
 7
                                      EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00156 DAD BAM
10
                                     Plaintiff,         STIPULATION REGARDING EXCLUDABLE
11                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          ORDER
12

13    XAVIER VALLE
                                     Defendants
14

15                                                STIPULATION

16          Plaintiff United States of America, by and through its counsel of record, Vicenza Rabenn, and

17 Defendant Xavier Valle, represented by Attorney John A. Garcia, hereby stipulate as follows:

18          1.     By previous order, this matter was set for Sentencing on May 4, 2020.

19          2.     By this stipulation, defendants now move to continue the Sentencing to June 29, 2020,

20 and to exclude time between May 4, 2020, and June 29, 2020, under Local Codes T4 and M. Plaintiff

21 does not oppose this request. The parties agree and stipulate, and request that the Court find the

22 following:

23                 a)      The defendant Xavier Valle is housed at Lerdo Pretrial Correctional Facility in

24          Bakersfield California.

25                 b)      His attorney John Garcia is situated in Merced California

26                 c)      Due to the current COVID-19 Pandemic, council is having difficulty meeting with

27          his client Mr. Valle.

28                 Council for the defendant desires additional time to meet with his client Mr. Valle, to

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 1                 review presentence report, prepare objections and corrections for sentencing.

 2                 d)      Council for defendant believes that failure to grant the above requested

 3          continuance would deny him the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                 e)      The defendant does not object to the continuance.

 6                 f)      The government does not object to the continuance.

 7                 g)      Based on the above-stated findings, the ends of justice is served by continuing the

 8          case as requested.

 9                 h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period May 4, 2020, to June 29, 2020.,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          for Mr. Valle because it results form a continuance granted by the Court at defendants request

13          on the basis of the Court’s finding that the ends of justice served by taking such action outweigh

14          the best interest of the public and the defendants in a speedy trial.

15          3.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19    Dated: 04/09/2020                                       /s/Vicenza Rabenn
                                                              VICENZA RABENN
20                                                            Assistant United States Attorney

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22 Dated: 04/09/2020                                       /s/ John A. Garcia
                                                           JOHN A. GARCIA, ESQ.
23                                                         Attorney for Xavier Valle
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 1                                                  ORDER

 2         Pursuant to the parties’ stipulation, the currently scheduled sentencing hearing date of May 4,

 3 2020 is hereby continued to July 6, 2020, at 10:00 am in Courtroom 5.

 4
     IT IS SO ORDERED.
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        Dated:   April 10, 2020
 6
                                                     UNITED STATES DISTRICT JUDGE
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